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                                    STATEMENT OF FACTS

        On Sunday, January 26, 2020, at approximately 3:20 p.m., Officer Crawley and Officer
Schemmel of the Metropolitan Police Department (MPD) Sixth District were actively patrolling
in the 2400 block of Minnesota Avenue Southeast in Washington, D.C. when they observed a blue
in color dirt bike stalled out in a lane of traffic on the street. Officers got out of their vehicle and
stopped the individual on the dirt bike, later identified as James Gaskins (Defendant Gaskins).
Defendant Gaskins was placed under arrest for operating, parking, stopping or standing a dirt bike
on public space.

      Search incident to arrest, Officer Crawley recovered a firearm from the waistband of
Defendant Gaskins.

       The firearm was determined to be a Beretta, model 92F, .9 millimeter handgun with a serial
number of C80324Z. When it was recovered, it was loaded with one (1) round in the chamber and
fourteen (14) rounds of ammunition in an unknown capacity magazine.

      Officer Schemmel was present for the recovery of the weapon and the arrest of Defendant
Gaskins.

        A criminal history check of Defendant Gaskins through the National Crime Information
Center confirmed that the defendant has a prior felony conviction in the Superior Court for the
District of Columbia, Criminal Case No. 2018 CF2 13757 for Possession of a Firearm by a
Convicted Felon, Unauthorized Use of a Vehicle and Fleeing from a Law Enforcement Officer.
The defendant served fourteen (14) months of incarceration for this conviction. Therefore, the
defendant was aware that this crime is punishable by more than one year in the District of
Columbia. There are no firearm or ammunition manufacturers in the District of Columbia.



                                               _____________________________________
                                               OFFICER THOMAS SCHEMMEL
                                               METROPOLITAN POLICE DEPARTMENT

SWORN AND SUBSCRIBED BEFORE ME ON THE 27th DAY OF JANUARY, 2020.



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                                                       DEBORAH A. ROBINSON
                                                       U.S. MAGISTRATE JUDGE
